          Case 2:06-cr-00127-RSM           Document 12        Filed 05/10/06     Page 1 of 2




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05
                              UNITED STATES DISTRICT COURT
06                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
07
     UNITED STATES OF AMERICA,            )
08                                        )
                 Plaintiff,               )
09                                        )             Case No. CR06-0127-TSZ-JPD
           v.                             )
10                                        )
     JOSHUA SEAN MACKE,                   )             DETENTION ORDER
11                                        )
                 Defendant.               )
12   ____________________________________ )

13 Offenses charged:

14          Count 1:    Conspiracy to Import Marijuana in violation of 21 U.S.C. §§ 952(a),

15 960(b)(1)(G), and 963.

16          Count 2: Conspiracy to Distribute Cocaine and Marijuana in violation of 21 U.S.C.

17 §§ 841(a)(1), 841(b)(1)(A), and 846.

18          Count 3: Conspiracy to Engage in Money Laundering in violation of 18 U.S.C.

19 § 1956(h).

20 Date of Detention Hearing: May 10, 2006.

21          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

22 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

23         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

25 is a flight risk and a danger to the community based on the nature of the pending charges.

26          (2)     Defendant has stipulated to detention, but reserves the right to contest his

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
          Case 2:06-cr-00127-RSM          Document 12        Filed 05/10/06      Page 2 of 2




01 continued detention if there is a change in circumstances.

02          (3)    There appear to be no conditions or combination of conditions other than

03 detention that will reasonably assure the defendant’s appearance at future Court hearings or the

04 safety of the community.

05          IT IS THEREFORE ORDERED:

06          (1)    Defendant shall be detained pending trial and committed to the custody of the

07                 Attorney General for confinement in a correction facility separate, to the extent

08                 practicable, from persons awaiting or serving sentences or being held in custody

09                 pending appeal;

10          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

11                 counsel;

12          (3)    On order of a court of the United States or on request of an attorney for the

13                 government, the person in charge of the corrections facility in which defendant

14                 is confined shall deliver the defendant to a United States Marshal for the purpose

15                 of an appearance in connection with a court proceeding; and

16          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

17                 counsel for the defendant, to the United States Marshal, and to the United States

18                 Pretrial Services Officer.

19
                   DATED this 10th day of May, 2006.


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                                                         JAMES P. DONOHUE
22                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
